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 10
10                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
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        PHILIP JOHNSON, individually and            Case No.: 22-CV-0518-AJB-AHG
 13
13      on behalf of all others similarly
 14
14      situated,                                   NOTICE OF VOLUNTARY
 15                                                 DISMISSAL WITHOUT
15                                   Plaintiff,     PREJUDICE PURSUANT TO
 16
16                                                  FED. R. CIV. P. 41(a)(1)(A)(i)
              v.
 17
17
        UNITED SERVICES
 18
18      AUTOMOBILE ASSOCIATION,
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19      USAA CASUALTY INSURANCE
        COMPANY, USAA GENERAL
 20
20      INDEMNITY COMPANY, and
 21
21      GARRISON PROPERTY AND
        CASUALTY INSURANCE
 22
22      COMPANY, and DOES 1 through
 23
23      20, inclusive,
 24
24                                 Defendants.
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                   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE 22-CV-518 AJB/AHG
     Case 3:22-cv-00518-AJB-AHG Document 24 Filed 10/20/22 PageID.165 Page 2 of 3



1            Plaintiff PHILIP JOHNSON, by and through the undersigned counsel, hereby
2     gives notice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) that the above-
3     captioned matter is hereby voluntarily dismissed without prejudice.
4
5     Dated: October 20, 2022
6
7                                By:    s/Manfred P. Muecke
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27                                      Attorneys for Plaintiff Philip Johnson
28                                      and the putative class.
                                                 2
                  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE 22-CV-518 AJB/AHG
     Case 3:22-cv-00518-AJB-AHG Document 24 Filed 10/20/22 PageID.166 Page 3 of 3



1                              CERTIFICATE OF SERVICE

2           I hereby certify that on October 20, 2022, I caused a true and correct copy
3
      of the foregoing Notice of Voluntary Dismissal to be filed electronically with the
4
5     Clerk of Courts using the CM/ECF system which will send notification of such
6     filing to all counsel of record on the Electronic Mail Notice List.
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                 NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE 22-CV-518 AJB/AHG
